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            EXHIBIT R
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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS

STATE OF NEW JERSEY, et al.,             :
                                         :
       Plaintiffs,
                                         :
  v.                                     :
                                         :
                                         :     Civil Action No.: ___________
                                                                  25-cv-10139
DONALD J. TRUMP, et al.,
                                         :
       Defendants.                       :
                                         :
                                         :
                                         :
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                               DECLARATION OF PETER HADLER


I, Peter Hadler, hereby declare as follows:


   1. I am over the age of 18, competent to testify as to the matters herein, and make this

       declaration based on my personal knowledge or have knowledge of the matters herein

       based on my review of information and records gathered by agency staff.

   2. I am the Deputy Commissioner for the Connecticut Department of Social Services (DSS).

       I have been employed in this position since April 2023 and have been employed by DSS

       since January 2012. I am responsible for executive level program and policy oversight and

       administration of eligibility policy and enrollment determinations for the Medicaid

                                                         gram (CHIP), among other healthcare



       policy administration for the Supplemental Nutrition Assistance Program, the Temporary

       Assistance for Needy Families block grant, the Low Income Home Energy Assistance

       block grant and numerous other public assistance programs.

   3. I am an attorney with a juris doctor degree from Boston University and am admitted to the

       bar in both Connecticut and New York.

                               Connecticut HUSKY and Eligibility Rules

   4. Medicaid is the federally matched medical assistance program under Title XIX of the

       Social Security Act. CHIP is the federally matched medical assistance program under Title

       XXI of the Social Security Act. The programs operate as a state and federal partnership

       with states funding a portion of the programs (usually starting at 50%). In Connecticut,



                                                        comprehensive health care coverage to
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      State residents, including preventative care, inpatient and outpatient services, behavioral

      health services and many other health care services.

5.



      regulated by the U.S. Department of Health and Human Services. Medicaid and CHIP are

      jointly funded by both state and federal dollars, though at different rates, as explained

      herein. DSS also administers some state funded health care programs, including the State

      HUSKY program (which provides coverage for children up to 15 years of age who do not

      qualify for Medicaid or CHIP due to immigration status).

6.

      assistance programs, including Medicaid, CHIP and state-funded coverage. DSS is



      coverage in Connecticut. It is a leader in ensuring Connecticut residents have access to

      high-quality, affordable health care, and it is committed to whole-person care, integrating

      physical and behavioral health services for better results and healthier communities in

      Connecticut. DSS provides health care for over 1 million state residents annually through

      HUSKY.

7. The table below illustrates the State Fiscal Year (SFY) 2024 expenditure dollars in the



      funded (SF) expenditures. The Medicaid line in the table includes funds associated with all

      eligibility groups authorized pursuant to Title XIX of the Social Security Act as well as

      CHIP funds that cover certain pregnant women and children. The CHIP line in the table

      includes children covered under Title XXI of the Social Security Act. State-only programs
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   in Connecticut include State HUSKY for Children and post-partum coverage for

   noncitizens, among others. States, including Connecticut, use federal funds to support

   services for noncitizens through Emergency Medicaid. Emergency Medicaid is authorized

   under Title XIX and expenditures are reflected within the Medicaid line in the below table.


                     SFY 2024 Expenditures ($$ in Thousands)
                             FF              SF                      Total
           Medicaid
             CHIP
           State-only
        (State HUSKY)
              Total

8. Within DSS, roughly 1,000 State employees and hundreds of contracted staff are

   responsible for determining eligibility, providing customer service, and managing policy

   for the majority of state and federal medical assistance programs serving over 1 million

   Connecticut residents. In addition to providing direct access to the Medicaid and CHIP

   programs through HUSKY, DSS administers the Supplemental Nutrition Assistance

   Program, the Temporary Assistance for Needy Families block grant, and a number of other

   public assistance programs.

9. Medicaid eligibility is comprised of three income methodologies: Modified Adjusted Gross

   Income (MAGI) methodology, non-MAGI methodology, and categorical eligibility (for

   example, SSI recipients or Foster Care/Adoption support coverage). Programs with

   eligibility determined under MAGI rules include coverage for adults aged 19-64, pregnant

   women, families, and children. Programs with eligibility determined under non-MAGI

   rules include coverage for aged, blind, or disabled populations, including long-term

   services and supports programs. Categorical eligibility means that a person is granted
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   coverage based on their categorical relationship to the program. For example, a person

   receiving Supplemental Security Income (SSI) automatically receives Medicaid coverage.

10. Federal Medicaid rules direct states to look at income and residency rules first and then

   determine whether someone is a citizen or has a qualifying immigration status in order to

   determine eligibility. Individuals who are undocumented or do not have a lawful,

   qualifying immigration status are not eligible for Medicaid or most other federally funded

   DSS administered benefits. The limited exception involves the federal Medicaid program

   for undocumented or non-qualified non-citizens to receive emergency medical care

   coverage if they are otherwise eligible for Medicaid. This is also known as Emergency

   Medicaid. Emergency Medicaid covers emergency health care for a limited set of

   qualifying emergent medical conditions. Individuals must meet all the income and other



   and immigration status. Individuals who are undocumented or non-qualified can receive

   Emergency Medicaid services, and the federal matching rate is 50%, meaning that federal

   funds cover 50% of the cost and state funds cover 50% of the cost.

11. Coverage programs for children are also provided under HUSKY. HUSKY covers all kids

   through age 15, regardless of immigration status, up to 323% of the Federal Poverty Level

   (FPL), and covers all citizen children and non-citizens with qualifying immigration statuses



   for different programs that fall under the HUSKY Health branding, i.e. Medicaid, CHIP or

   State coverage.

12. Below 201% of the FPL, for children who are citizens or qualified immigrants, the funding

   for this coverage is through Medicaid.
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13. Between 201% and 323% of the FPL, for children who are citizens or qualified immigrants,

      the funding for this coverage comes through CHIP, and some households pay a small

      premium or copays for coverage. CHIP is a federally matched health coverage program

      that expands

      offers comprehensive healthcare coverage to children through age 18, who reside in

      households with incomes between 201% and 323% of the FPL, whereas Medicaid covers

      eligible children at or below 201% of the FPL.

14. While provided in Connecticut under the name HUSKY, coverage provided under the

      CHIP program operates separately from Medicaid on the funding side. Historically, CHIP

      federal match has been 65%. It was increased as high as 88% for a period of time in recent

      years, but now is at 65%. This means that coverage provided to eligible children under the

      CHIP funding structure results in federal funds covering a higher portion of the expenses

      compared to Medicaid, where federal funding normally covers 50% of the expenses.

15.                                                                     Medicaid or CHIP-funded

      coverage programs had they met immigration status requirements receive coverage through

      the 100% state-funded State HUSKY program. Connecticut law requires such coverage to

      be provided to all children who apply and are eligible.

                      Healthcare Coverage for Pregnant Women and Newborns

16. HUSKY also covers all pregnant women regardless of immigration status with income at

      or below 263% of the FPL. This is possible because their unborn children are deemed

      covered at conception, so even though the mother may not have a qualifying immigration

      status, the child will be born a U.S. citizen and is therefore eligible for services under CHIP

      from conception through birth. After the child is born, the child (as a U.S. citizen) can
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   remain covered under HUSKY, while the mother is no longer covered under any federal

   healthcare program, but in Connecticut is provided 12 months of state-funded postpartum

   coverage.

17. As of 2024, DSS administers Medicaid funded coverage for more than 380,000 children

   annually in Connecticut, and CHIP funded coverage for approximately 39,000 children in

   Connecticut. DSS estimates that coverage on a per-child basis costs approximately $3,850

   per year on average. For this coverage, Connecticut expended approximately

   $1,450,000,000 and received $744,000,000 in reimbursement from the federal government

   under Medicaid and CHIP. With respect to State HUSKY, there were over 20,000 children

   covered and the State expended approximately $23,000,000 in 2024.

18. Under federal law, DSS must provide Medicaid and CHIP coverage to citizens and

   qualified noncitizens whose citizenship or qualifying immigration status is verified and

   who are otherwise eligible. Applications for coverage are processed either through Access

                                       health insurance marketplace), where eligibility is based on

   a MAGI determination, or through DSS directly for individuals qualifying under a non-

   MAGI basis. Citizenship eligibility status is one eligibility factor that DSS must verify for

   HUSKY coverage. There are multiple ways that DSS verifies citizenship or immigration

   status to determine eligibility.

19. Generally speaking, for MAGI-



   check the SSN with the Social Security Administration (SSA) in order to confirm identity

   and citizenship or qualifying immigration status

                  For newborns who do not yet have an SSN, citizenship eligibility is verified
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   by birth records provided (usually by the hospital or other medical provider) at the time of

   birth because children born in the United States are citizens. For individuals who declare

   to be lawfully present and have an SSN, DSS uses the SSN, name, and date of birth to



   who have an SSN and declare to be a citizen, but for whom citizenship cannot be

   automatically verified, DSS will request verification from the individual of their

   citizenship. When an individual is applying for non-MAGI coverage through DSS, SSN



20. In the relatively infrequent instances where citizenship is not or cannot be verified by those

   automatic means, an individual can be approved for coverage based on their attestation and

   given a reasonable opportunity to provide verification. On that issue, a declaration of

   citizenship or qualifying immigration status may be provided in writing, and under penalty

   of perjury by an adult member of the household, an authorized representative, or someone

   acting for the applicant. States must provide otherwise eligible individuals with a

                                                     qualifying immigration status. Individuals

   making a declaration of a qualifying citizenship or immigration status are furnished at least

   90 days of Medicaid coverage while additional verification is collected

   status is found to be unsatisfactory before the 90 days, their eligibility is determined and

   their coverage closed.

                    Impact of Purported Revocation of Birthright Citizenship

21. I am aware o                                                                        American



   citizenship for children born in the United States after February 19, 2025 to (i) a mother
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   who is unlawfully present or who is lawfully present in the United States but on a temporary

   basis, and (ii) a father who is neither a citizen nor a lawful permanent resident. This

   Executive Order will have a variety of widespread harmful

   HUSKY programs, including a decrease in receipt of proper medical care for children born

   in Connecticut and increased operational and administrative costs for the State.

22. In addition to impacts on those subject to such a policy   children who would have been

   citizens had they been born weeks earlier

   administration of its healthcare programs and the amount of federal funding Connecticut

   receives to reimburse medical expenses for children residing in Connecticut.

23. Connecticut has made tremendous strides in reducing the number of uninsured individuals.

   Many immigrants are direct beneficiaries of HUSKY coverage. Connecticut has continued

   to improve and broaden coverage options for children residing in the State and worked to

   streamline the application process and make that process as simple as possible for parents

   seeking coverage for themselves and their children. This is possible using both state and

   federal Medicaid and CHIP dollars as appropriate. Uninsured individuals suffer significant

   negative health impacts and the economic impacts of an increase in the uninsured rate could

   be severe. Individuals with health insurance that provides preventative care are less likely

   to need more intensive health care treatments, including emergency care. Health insurance

   reduces the financial burden on Connecticut health care providers who provide care to

   uninsured individuals, reduces uncompensated care, and ensures families are not left with

   medical bills that they are unable to pay. Sick children with health insurance coverage are

   more likely to see a health care provider and receive treatment, limiting the spread of

   infectious illnesses across the state.
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24.

      around the significant reimbursements from the federal government, and any loss of

      funding would have serious consequences for Connecticut and the individuals served by

      DSS. The federal government action of taking away birthright citizenship from children

      born in Connecticut would result in babies being born as non-citizens with no legal status.

      That will result in direct loss of federal reimbursements to the State for coverage provided

      to those children because eligibility for federally matched programs such as Medicaid and



      on their citizenship or immigration status. In particular, federally matched coverage to

      many children that would have been provided under Medicaid or CHIP will very likely be

      lost without the clear line of eligibility tied to birth in the United States, because those

      programs are not available to individuals who have not been verified to be eligible. This

      will necessarily result in a shift to the State of funding responsibility for this group of

      children, which poses a direct threat to the ability of the State to provide meaningful

      healthcare to all in need without interruption. It will also likely result in a significant

      number of children going uninsured and receiving only emergency care when absolutely

      necessary, leading to worse health outcomes as they grow up and require more expensive

      care through emergency procedures due to a lack of access to affordable preventative care.

25. Additionally, there will be substantial uncertainty and administrative burdens for DSS in

      providing coverage to pregnant women and their unborn children. As noted above,

      Connecticut is able to provide coverage to all pregnant women, regardless of citizenship

      status, for prenatal care under the CHIP program because the unborn children are covered

      under CHIP. If the children are no longer to be citizens at birth, DSS will be left in limbo
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   to determine whether coverage to those vulnerable pregnant women will be able to be

   covered, and if so, under what program. This is likely to pose a significant barrier to DSS

   providing streamlined coverage to State residents in need of medical care for themselves

   and their future children.

26. The purported removal of birthright citizenship is also likely to cause coverage lapses or,

   at a minimum, result in direct shifts to the State with respect to the cost of funding

   healthcare coverage for children who would have otherwise been immediately eligible for

   Medicaid and/or CHIP at birth. These are not impacts that can be avoided. For example,

   with respect to emergency care, the State and its providers will be required to absorb costs

   that would normally be recoverable through federal reimbursements under Medicaid and

   CHIP. Hospitals must provide emergency medical care under federal law, including the

   Emergency Medical Treatment and Labor Act and the relevant Emergency Medicaid

   provisions. They cannot turn patients away as a general rule. Such emergency services, if

   provided to a child otherwise eligible for Medicaid but for their immigration status, will

   still be covered in part by the federal government at the 50% match rate for Medicaid.

   However, if a child is a citizen and covered under CHIP, such services would be covered

   and reimbursed at the 65% match rate. If that same child is deemed a non-citizen at birth

   (and thus is ineligible for CHIP), the State will be left to pay for that care. Indeed,

                       -funded State HUSKY program would provide coverage, as is required

   under state law. As a result, for each child that would be eligible for CHIP but for their new

   non-citizen status, the State will lose the 65% federal reimbursement for any care

   provided    solely because the child, now as a non-citizen, would not be eligible for CHIP.
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27. This poses a

                                                                                              2024,

      there were over 5,500 children born who were eligible for HUSKY and born to mothers

      who qualified for state-funded postpartum coverage because the mother could not qualify

      for Medicaid due to their immigration status. If the children covered under Medicaid and

      CHIP became ineligible due to a loss of citizenship and moved to the State-funded

      coverage, that would result in a loss of over $10,000,000 in federal reimbursements to

      Connecticut and a corresponding increase to State expenditures of the same amount.

28.

      DSS will also need to develop updated comprehensive training for staff, partners, and

      healthcare providers. For example, DSS will need to update its training and guidance

      around which children are citizens and therefore eligible for Medicaid and CHIP programs,

      and which must be funneled into state-only programs. DSS will also need to change its

      verification processes, acquire more information from parents, pursue absent parents,

      change its computer systems, and in so doing significantly increase both the number of

      staff required to conduct this eligibility work and delay the enrollment process for

      families. This is a significant burden for the State, children, parents, and healthcare

      providers. This will require additional eligibility units comprised of eligibility workers and

      supervisory staff. For every additional eligibility unit that would need to be brought on to

      support the additional work, it will cost the state approximately $1,700,000. Because of the

      burden of revamping a program of this size and complexity, adjusting to the federal



      would likely take one year at a minimum. It may also require additional legislative
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   solutions at the state level, including the allocation of additional state funds to

   operationalize this dramatically changed interpretation of citizenship.



29. In addition, and upon information and belief, local education agencies (LEAs) within the

   State serve all school-age children, regardless of their immigration status. Within DSS, the

   Division of Health Services administers federal Medicaid funds to LEAs to support crucial

   education initiatives and provide essential services to students. Upon information and

   belief, school-based health services (SBHS) refer broadly to medical services provided to

   all students in a school setting, such as on-site school nurses, behavioral health counselors,

   and preventative health screenings for visual and auditory acuity. All Connecticut LEAs

   are required to provide certain SBHS free of charge to all students, regardless of their

   immigration or insurance status.

30. Upon information and belief, Section 1903(c) of the Social Security Act has authorized the

   federal Medicaid program to reimburse LEAs for medically necessary SBHS provided to

   Medicaid-eligible students with disabilities pursuant to the Individuals with Disabilities

   Education Act (IDEA), 20 U.S.C. § 1400 et seq., provided the services were delineated in



   State plan for Medicaid. IDEA requires LEAs to develop an IEP for children found eligible

   for special education and related services. An IEP identifies certain special education and

   related services, and program modifications and supports, that the LEA will provide a child

   with a disability.

31. Upon information and belief, in SFY 2023 there were over 25,000 unique Medicaid

   recipients identified as obtaining services claimed under Medicaid related to SBHS. For
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       SFY 2023, and upon information and belief, quarterly statistics submitted by the LEAs to

       DSS indicate a total of approximately 22,800 Medicaid-eligible special educated students

       with medical services in their IEP/504 plans. Upon information and belief, in SFY 2022,

       total LEA gross costs were approximately $61 million, of which federal Medicaid

       reimbursed 50%, or approximately $30.5 million. The State retained 50% of the federal

       reimbursement, or approximately $15.25 million, with the remainder passed on to the

       LEAs.

   32. If birthright citizenship was revoked, impacted students with disabilities   who would have

       otherwise qualified for federally-funded Medicaid       would lose that eligibility and thus

       there would be no federal matching support. LEAs would thus not receive any

       reimbursement funds for provision of SBHS to those

       costs. A change to birthright citizenship would also increase the population of

       undocumented children, some percentage of whom would very likely have disabilities that

       require SBHS and would have been eligible for partially federally-funded Medicaid but for

       their immigration status. The costs of providing those services would be borne by the State

       of Connecticut and LEAs without any federal Medicaid reimbursement.



I declare under penalty of perjury under the laws of the State of Connecticut and the United
States of America that the foregoing is true and correct.


Executed this 21st day of January 2025, in New Haven, Connecticut.
